           Case 1:23-mc-00025-TJK Document 4 Filed 05/25/23 Page 1 of 8




                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

    SECURITIES         AND  EXCHANGE :                   Civil Action No. 1:23-mc-00025-TJK
    COMMISSION,                        :
                                       :                 Judge Hon. Timothy J. Kelly
    Plaintiff,                         :
                                       :
    v.                                 :                 Case in other Federal Court:
                                       :
    PRINCETON ALTERNATIVE FUNDING,     :                 District of New Jersey
    LLC, MICROBILT CORPORATION,        :                 3:21-cv-12971-ZNQ-RL
    PHILIP N. BURGESS, WALTER          :
    WOJCIECHOWSKI, and JOHN COOK, JR., :
                                       :
    Defendants.                        :

                 DEFENDANTS’ STATUS REPORT REGARDING
                THEIR MOTION TO COMPEL COMPLIANCE OF
             LAWRENCE WEST WITH THIRD PARTY DOCUMENT
       SUBPOENA FOR MATTER ARISING IN THE DISTRICT OF NEW JERSEY

        Defendants Princeton Alternative Funding, LLC, MicroBilt Corporation, Philip N.

Burgess, Jr., Walter Wojciechowski, and John Cook, Jr. (“Defendants”), by and through newly

retained counsel, hereby submit this Status Report as requested by the Court in its May 3, 2023

Minute Order (the “Minute Order”). Defendants acknowledge that this Court’s Minute Order

requested this Status Report to have been filed on or before May 10, 2023. However, Defendants

only learned of the Court’s Minute Order after newly retained counsel had checked the docket in

order to enter their appearance.1 Defendants request the Court’s indulgence with the delay in the

filing of this Status Report.

        In short, this matter concerns Defendants’ motion to compel (ECF #2) the compliance of

Lawrence West (“West”) with a third-party document subpoena for a matter arising out of New

Jersey (the “Motion to Compel”). On January 11, 2023, Defendants originally filed in the District


1
  Prior counsel for Defendants had failed to advise Defendants of the Court’s Minute Order which was filed
immediately preceding the replacement of prior counsel.


                                                    1
          Case 1:23-mc-00025-TJK Document 4 Filed 05/25/23 Page 2 of 8




of New Jersey an informal application (NJ ECF #53) (the “Application”) to compel West’s

compliance with the subject subpoena before the presiding New Jersey Federal Magistrate Judge

(Judge Rukhsanah L. Singh) (“Judge Singh”). Defendants served the Application on West who

quickly responded to the Motion to Compel on or about January 12, 2023, with an email to Judge

Singh. Thereafter, on or about January 19, 2023, Defendants filed a Reply (NJ ECF #56). As a

result of Defendants’ filings and West’s email submission, by Letter Order, dated February 21,

2023 (the “Letter Order”), Judge Singh denied the Application without prejudice. (Attached as

Exhibit A is the New Jersey Letter Order declining the application).

       Judge Singh ruled in the Letter Order that the New Jersey District Court could not rule on

the Motion to Compel because, pursuant to the Fed. R. Civ. P. 37(a)(2) and 45(d), the issue of a

third-party’s compliance with a subpoena had to first be “presented to a court within” the District

of Columbia where compliance was required, regardless of whether West was consenting to the

jurisdiction of the District of New Jersey.

       Accordingly, after the issuance of the Letter Order, Defendants, through prior counsel, filed

the Motion to Compel in this Court complying with the Letter Order and seeking either (i) the

transfer of this matter back to the District of New Jersey for resolution by Judge Singh because

Her Honor has been managing all discovery-related litigation in this matter, or, in the alternative,

(ii) to order West to produce all documents responsive to Defendants’ request (as set forth in detail

in the Motion to Compel and supporting exhibits, including the subpoena at issue). Although the

Motion to Compel was served on West at the same email address that West was corresponding

with Judge Singh, West has failed to respond to the Motion to Compel.

       For the foregoing reasons, and in direct response to the query posed by the Minute Order,

Defendants respectfully request that this Court transfer this matter back to the District of New




                                                  2
           Case 1:23-mc-00025-TJK Document 4 Filed 05/25/23 Page 3 of 8




Jersey (i) because West has agreed to the jurisdiction of the District of New Jersey, (ii) because

that court has the most knowledge of the ongoing discovery issues related to the compliance by

West of the subject subpoena, and has been managing all discovery-related matters in the

underlying litigation, and (iii) because West has failed to submit any filing to this Court after

having been served a copy of the Motion to Compel.

        Defendants therefore contend that the District of New Jersey remains the most capable and

efficient court to resolve the issues raised by the Motion to Compel, and therefore, respectfully

request that this Court enter the proposed form of Order submitted with the Motion to Compel.

                                             Respectfully submitted,

                                             ARNALL GOLDEN GREGORY LLP

                                             /s/ Jeffrey S. Jacobovitz
                                             Jeffrey S. Jacobovitz (DC Bar: #346569)
                                             2100 Pennsylvania Avenue NW, Suite 350S
                                             Washington, DC 20037
                                             Telephone: 202.677.4030
                                             Facsimile: 202.677.4031

                                             Attorneys for Petitioners
Dated: May 25, 2023

Of Counsel (to be admitted pro hac vice):

KROVATIN NAU LLC
Gerald Krovatin, Esquire
(NJ Attorney No. 024351977)
60 Park Place, Suite 1100
Newark, New Jersey 07102
gkrovatin@krovatin.com

MCCABE LAW GROUP, LLC
Gerard M. McCabe, Esquire
(PA Attorney No. 66564)
42 Hawkswell Circle
Oreland, PA 19075
gmccabe@mccabe.law




                                                3
Case 1:23-mc-00025-TJK Document 4 Filed 05/25/23 Page 4 of 8




                     EXHIBIT A

                     Letter Order

             (dated February 21, 2023)

           (Judge Rukhsanah L. Singh)

              (District of New Jersey)




                             4
   Case 3:21-cv-12971-RK-JBD
           Case 1:23-mc-00025-TJK
                              Document
                                  Document
                                       75 Filed
                                           4 Filed
                                                02/21/23
                                                    05/25/23
                                                          PagePage
                                                               1 of 5
                                                                    3 of
                                                                      PageID:
                                                                         8    865


                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY
          CHAMBERS OF                                                    CLARKSON S. FISHER BLDG. &
   RUKHSANAH L. SINGH                                                    U.S. COURTHOUSE
UNITED STATES MAGISTRATE JUDGE                                           402 E. STATE STREET
                                                                        TRENTON, NJ 08608
                                                                         (609) 989-0502




                                                              February 21, 2023


                                         LETTER ORDER

  Re:    SECS. & EXCH. COMM’N v. PRINCETON ALT. FUNDING, LLC, et al.
         Civil Action No. 21-12971 (ZNQ) (RLS)

  Dear Counsel:

         Currently pending before the Court is an informal application by Defendants Princeton

  Alternative Funding, LLC, MicroBilt Corporation, Philip N. Burgess, Jr., Walter Wojciechowski,

  and John Cook, Jr. (collectively, “Defendants”) to Compel Third-Party Lawrence West (“West”)

  to Comply with a Third-Party Document Subpoena, (the “Application”). (Dkt. No. 53). On

  January 12, 2023, West responded, via email, to the Application, to which Defendants replied,

  (Dkt. No. 56). The Court has fully reviewed the submissions of the parties and considers the

  Application without oral argument pursuant to Federal Rule of Civil Procedure 78 and Local Civil

  Rules 37.1(b)(4) and 78.1(b). For the reasons set forth below, Defendants’ Application is hereby

  DENIED.

         As the parties are familiar with the facts and claims at issue, only a brief background is

  provided herein. This action arises out of allegations by Plaintiff Securities and Exchange

  Commission that Defendants violated Section 17(a) of the Securities Act of 1933, 15 U.S.C.

  § 77q(a), Section 10(b) of the Securities Exchange Act of 1934, 15 U.S.C. § 78j(b), and Rule 10b-

  5 thereunder, 17 C.F.R. § 240.10b-5. (See generally Dkt. No. 1). The parties are currently engaged

                                                 1
Case 3:21-cv-12971-RK-JBD
        Case 1:23-mc-00025-TJK
                           Document
                               Document
                                    75 Filed
                                        4 Filed
                                             02/21/23
                                                 05/25/23
                                                       PagePage
                                                            2 of 6
                                                                 3 of
                                                                   PageID:
                                                                      8    866




in discovery. On or about October 3, 2022, through the Maryland Department of Taxation,

Defendants served West, an individual with an address in Washington, D.C., with a subpoena

duces tecum (the “Subpoena”), seeking the production of documents at a location in Washington,

D.C. (See Dkt. No. 53 at p. 1; Dkt. No. 53-2).

       It appears that Defendants and West dispute the request in the Subpoena that seeks, inter

alia, “[a]ny and all documents between West and Robert Farrell and/or Robert Szostak in

connection with Ranger [and Defendants].” (Dkt. No. 53 at pp. 1-2; Dkt. No. 53-2 at p. 6). West

objects to producing documents and communications responsive to that request based on attorney

client privilege. (See West Ltr. to Hon. Rukhsanah L. Singh, Jan. 12, 2023). Defendants disagree

that the privilege is applicable, and on January 11, 2023, filed the instant Application, seeking this

Court to compel West’s compliance with the Subpoena. (See Dkt. No. 53).

       As the parties are aware, Rules 37 and 45 of the Federal Rules of Civil Procedure provide

mechanisms by which a court may compel discovery from a third-party or quash or modify a

subpoena. See Fed. R. Civ. P. 37(a)(2), 45(d). However, such applications are to be presented in

a court within “the district where compliance is required,” Fed. R. Civ. P. 45(d)(3), or “in the court

where the discovery is or will be taken,” Fed. R. Civ. P. 37(a)(2). If the court where compliance

is required did not issue the subpoena, that court may transfer a motion related to the subpoena in

certain instances. Fed. R. Civ. P. 45(f).

       Here, the subpoena at issue seeks compliance and discovery within the District of

Columbia, not in the District of New Jersey. Fed. R. Civ. P. 37(a)(2), 45(d). As such, disputes as

to the Subpoena must first be presented to a court within that District. Indeed, the comments to

Federal Rule of Civil Procedure 45(f) reflect that the intent of having disputes presented to a court


                                                  2
Case 3:21-cv-12971-RK-JBD
        Case 1:23-mc-00025-TJK
                           Document
                               Document
                                    75 Filed
                                        4 Filed
                                             02/21/23
                                                 05/25/23
                                                       PagePage
                                                            3 of 7
                                                                 3 of
                                                                   PageID:
                                                                      8    867




where is compliance is required is aimed “[t]o protect local nonparties.” Fed. R. Civ. P. 45(f)

advisory committee’s note to 2013 amendment. While the Court is cognizant that the instant

Application arises as an informal discovery dispute and efficiencies may arise through having this

Court address the dispute, the Court is bound by the Federal Rules of Civil Procedure and therefore

finds the Application not properly presented in this Court.

       Accordingly, for the reasons set forth above,

       IT IS, THEREFORE, on this 21st day of February 2023,

       ORDERED that Defendants’ Application to Compel Third-Party Lawrence West to

Comply with a Third-Party Document Subpoena (Dkt. No. 53) is hereby DENIED without

prejudice; such disputes may be presented in the proper forum.

       SO ORDERED.



                                                       ________________________________
                                                       RUKHSANAH L. SINGH
                                                       UNITED STATES MAGISTRATE JUDGE




                                                3
          Case 1:23-mc-00025-TJK Document 4 Filed 05/25/23 Page 8 of 8




                                CERTIFICATE OF SERVICE

       I hereby certify that on May 25, 2023, I electronically filed the foregoing Status Report

with the Clerk of the Court for the United States District Court for the District of Columbia using

the CM/ECF system, and served a copy of that document, as filed, on the following persons:

                                         James E. Smith
                                        smithja@sec.gov
                                       Counsel for Plaintiff

                                        Lawrence West
                                      Law.west@gmail.com

                                             /s/ Jeffrey S. Jacobovitz




                                                 5
